                                Case 21-10021-MFW                   Doc 1      Filed 01/11/21           Page 1 of 43


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Ferrellgas Partners, L.P.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  7500 College Boulevard
                                  Overland Park, KS 66210
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Johnson                                                       Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       ferrellgas.com


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                     Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
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Debtor    Ferrellgas Partners, L.P.                                                                     Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                4238

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                           The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                            The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.

                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12

9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     Ferrellgas Partners Finance Corp.                                Relationship            Subsidiary
                                                 District                                  When                              Case number, if known


Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
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Debtor   Ferrellgas Partners, L.P.                                                               Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                    5001-10,000                               50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Ferrellgas Partners, L.P.                                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on           01/10/2021
                                                    MM / DD / YYYY

                                         /s/ James E. Ferrell
                             X                                                                            James E. Ferrell
                                 Signature of authorized representative of debtor                         Printed name

                                 Title     Chief Executive Officer and President




                                             /s/ William E. Chipman, Jr.                                                01/11/2021
18. Signature of attorney    X                                                                             Date
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 William E. Chipman, Jr.
                                 Printed name

                                 CHIPMAN, BROWN, CICERO & COLE, LLP
                                 Firm name

                                 1313 N. Market Street
                                 Suite 5400
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone       (302) 295-0193              Email address      Chipman@chipmanbrown.com

                                 3818 DE
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name Ferrellgas Partners, L.P.
 United States Bankruptcy Court for the: DISTRICT OF DELAWARE                                                                                     Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 U.S. Bank National                                              Note Payable                                                                                     $392,057,896.00
 Association, trustee
 Global Corporate
 Trust
 5715 Burlington
 Lane
 Olive Branch, MS
 38654
 Ferrellgas, L.P.                                                Loan                                                                                               $19,900,000.00
 7500 College
 Boulevard
 Overland Park, KS
 66210
 Eddystone Rail                                                  Litigation             Contingent                                                                                $0.00
 Company, LLC                                                                           Unliquidated
 5 Industrial Highway                                                                   Disputed
 Eddystone, PA
 19022




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                                                               United States Bankruptcy Court
                                                                          District of Delaware
 In re      Ferrellgas Partners, L.P.                                                                      Case No.
                                                                                   Debtor(s)               Chapter       11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities              Kind of Interest
 business of holder
 ACHILLES PANTAZAKOS & ANDREA                                                       100.00
 PANTAZAKOS



 AHMAD M SHIHADEH & NAWAL B                                                         1,000.00
 SHIHADEH JT T



 ALAN KLEINWACHTER                                                                  29.00



 ALANNA STEWART                                                                     2.00



 ALBIN S POLONYI & ALBIN S POLONYI JR                                               100.00
 JT



 ALICE M DE LA COVA & JOSEPH V DE LA                                                1,400.00
 COVA



 ALICIA ZAROUNI                                                                     1,000.00



 ALVIN G WILHELM & PATRICIA WILHELM                                                 200.00
 JT TE



 ANGELO GENTILE                                                                     300.00



 ANGELO GENTILE                                                                     100.00



 ANN M DARNALL                                                                      100.00



 ANNA E BRIXLER                                                                     10.00



 ARDEN MCCONNELL TR UA 08/15/1990                                                   100.00
 MCCONNE


Sheet 1 of 31 in List of Equity Security Holders
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 In re:    Ferrellgas Partners, L.P.                                                            Case No.
                                                                                   Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities          Kind of Interest
 business of holder

 ASHLEY BILLINGS & SHIRLEY BILLINGS JT                                              100.00
 TE



 BARRY L DAVIS & KATHY B DAVIS JT TEN                                               15.00



 BENJAMIN S MORSE                                                                   1,000.00



 BERNARD J HARR                                                                     100.00



 BETTY L DENNERLEIN TR UA 10/31/2013                                                100.00
 BETT



 BILL A EASTER & CAROLYN S EASTER JT                                                1,000.00
 TEN



 BILLIE A EASTER & CAROLYN S EASTER                                                 1,000.00
 JT TE



 BLOSSMAN GAS INC                                                                   100.00



 BOB L MCCULLOUGH TR BOB L                                                          71.00
 MCCULLOUGH TRU



 BONNIE F CAMPBEL & ROY H CAMPBELL                                                  200.00
 JT TEN



 BONNIE HOLDORF                                                                     500.00



 BRIAN F GRIESEL                                                                    100.00



 BRITTANY N WIECH                                                                   2.00




List of equity security holders consists of 31 total page(s)
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 In re:    Ferrellgas Partners, L.P.                                                            Case No.
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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities          Kind of Interest
 business of holder

 BRUCE D POWELL & HENRIETTE E                                                       3,100.00
 POWELL TR P



 BRUCE D POWELL & HENRIETTE E                                                       1,300.00
 POWELL TR U



 BRUCE W HOSTLER & VIOLA S HOSTLER                                                  700.00
 JT TEN



 BRYAN R GAUS                                                                       70.00



 BURCE D POWELL & HENRIETTE E                                                       1,000.00
 POWELL TR U



 C A BREINGAN & MILDRED B BREINGAN JT                                               200.00
 TEN



 C A BREINGAN & MILDRES B BREINGAN JT                                               300.00
 TEN



 CAMBRIA LYNN MORGAN                                                                100.00



 CANDACE L MITCHELL                                                                 3,000.00



 CANDACE L MITCHELL                                                                 2,750.00



 CARLOS J HERMOSILLO TOD CECILIA                                                    2,000.00
 HERMOSIL



 CARLOS T REYES & JUDY A REYES JT TEN                                               100.00



 CAROL HILS & KARL HILS JT TEN                                                      200.00



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 In re:    Ferrellgas Partners, L.P.                                                            Case No.
                                                                                   Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities          Kind of Interest
 business of holder

 CAROL LEE BANDA                                                                    434.00



 CAROL LUPI & VICTOR LUPI JT TEN                                                    54.00



 CAROL P EVANS                                                                      334.00



 CAROLE B GOLDSTEIN                                                                 525.00



 CAROLYN M PALMER TOD BREND P LEE                                                   333.00
 SUBJECT



 CAROLYN M PALMER TOD DEBBIE P                                                      333.00
 SANFRATELL



 CAROLYN S WATERS & LARRY L WATERS                                                  250.00
 JT TEN



 CASEY CLAUSEN                                                                      35,000.00



 CHARLENE L BRENNAN & EDWARD M                                                      50.00
 BRENNAN JT



 CHARLES A WILLIAMS                                                                 93.00



 CHARLES P MARVEL & CAROL M MARVEL                                                  264.00
 TR UA



 CHARLES RUBENSTEIN                                                                 20,000.00



 CHARLES S BARTHOLOMEW                                                              10,100.00




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                                                                                   Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 CHARLES S WILLIAMS & AMELIA A                                                      100.00
 WILLIAMS J



 CHARLIE GILLEY                                                                     7,028.00



 CHERYL ANN MARTIN CUST MARANDA                                                     25.00
 MARTIN UT



 CHRISTINE M U ERICKSON CUST DYLAN J                                                100.00
 ULRI



 CHRISTOPHER B MORSE                                                                1,000.00



 CHRISTOPHER DECARLO                                                                20.00



 CHRISTY L ULRICH CUST KAMRYN L                                                     100.00
 ULRICH UT



 CHUCK WILLIAMS & PAMELA WILLIAM JT                                                 100.00
 TEN



 COLIN O ELLIOT                                                                     1.00



 COMPTROLLER STATE OF NEW YORK                                                      100.00



 CONNIE BURRESS                                                                     63.00



 CORRINNA LEE TR UA 12/31/14 CORRINNA                                               200.00
 LEE



 COTTON BUTANE CO                                                                   97,669.00




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                                                                                   Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 COURTNEY N UNDERWOOD & JOAN M                                                      2,200.00
 UNDERWOOD



 CRAIG W JOHNSON TR & REBECCA R                                                     1,547.00
 JOHNSON T



 CTR ENERGY LLC                                                                     2,120.00



 CYNTHIA R TRIFONE                                                                  3,200.00



 CYRIL NEVADOMSKI                                                                   180.00



 DANIEL A TRIPLETT & PATSY B TRIPLETT                                               200.00
 JT



 DANIEL J STEVENS & PAMELA C STEVENS                                                500.00
 JT T



 DANNY L WILSON                                                                     200.00



 DARLENE BUNELL-WILKINSON                                                           1,500.00



 DAVID A STARK                                                                      86.00



 DAVID BERT BAKER & JUDITH ANNE                                                     100.00
 BAKER TR



 DAVID BIRD                                                                         4.00



 DAVID G OHALEK                                                                     500.00




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 In re:    Ferrellgas Partners, L.P.                                                            Case No.
                                                                                   Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 DAVID JAROSLAWICZ                                                                  100.00



 DAVID L STALLARD TR 02/25/99 DAVID L                                               600.00
 STA



 DEBRA COSTA & ANTHONY J NINO JT TEN                                                200.00



 DEBRA COSTA CUST CONSTANCE R NINO                                                  200.00
 UTMA N



 DEBRA FLEURY CUST ETHAN FLEURY                                                     150.00
 UTMA MI



 DEBRA FLEURY CUST RYAN FLEURY                                                      150.00
 UTMA MI



 DELORES J GERCKEN TOD KAREN E                                                      333.00
 FRICK SUBJ



 DELOS S WEDGWOOD & DARLENE O                                                       3,000.00
 WEDGWOOD JT



 DENIS SULLIVAN                                                                     108.00



 DENNIS A LUKKARI & KATHLEEN A                                                      200.00
 LUKKARI JT



 DIANE ADLER & HEIDI GARBER & ALAN                                                  1,597.00
 ADLER



 DONALD B SPOLYAR & DAVID SPOLYAR JT                                                50.00
 TEN




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 In re:    Ferrellgas Partners, L.P.                                                            Case No.
                                                                                   Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 DONALD B SPOLYAR & DAVID SPOLYAR JT                                                40.00
 TEN



 DONALD D SCHONASKY & BONNIE L                                                      90.00
 SCHONASKY



 DONALD F WISNIEWSKI & PATRICIA A                                                   167.00
 WISNIEW



 DUANE M DOUGLAS                                                                    100.00



 DWIGHT L VANDERPOOL & CANDICE L                                                    500.00
 VANDERPO



 E SCHLAVIS FREES & W PETER FREES JT                                                100.00
 TEN



 EDITH A JAMES & JOSEPH W                                                           30.00
 GOODENOUGH JT T



 EDMOND R MORSE                                                                     1,000.00



 EDWARD CHAPMAN & KAREN CHAPMAN                                                     215.00
 JT TEN



 EDWARD DEVICH & MARJORIE DEVICH JT                                                 500.00
 TEN



 EDWARD E HEILMAN & ANNA S HEILMAN                                                  301.00
 JT TEN



 EDWARD L STANGER & DARLENE K                                                       100.00
 STANGER JT



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 In re:    Ferrellgas Partners, L.P.                                                                Case No.
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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities          Kind of Interest
 business of holder

 EDWIN W WINKLER JR                                                                 1,900.00



 EILEEN S FREES                                                                     200.00



 ELMO HENSKE & ERMA H HENSKE JT TEN                                                 100.00



 ELMO J HENSKE & ERMA L HENSKE JT                                                   200.00
 TEN



 EMIL R SCHIAVONE & EMILEE S VARGO JT                                               300.00
 TEN



 EMIL R SCHIAVONE & MARY S SCHIAVONE                                                300.00
 JT T



 ERNA HECK TR ERNA HECK LIVING TRUST                                                600.00
 UA 0



 ERNEST L KOPP TR UA 11/09/07 CURT L                                                100.00
 KOPP



 FCI TRADING CORP                                                                   195,686.00



 FERRELL COMPANIES INC                                                              22,144,361.00



 FERRELL PROPANE INC                                                                51,204.00



 FERRELLGAS COMPANIES INC                                                           385,000.00



 FRANCES C HOWELL                                                                   1.00




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 In re:    Ferrellgas Partners, L.P.                                                            Case No.
                                                                                   Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 FRANK PAPA & CHRISTOPHER J PAPA JT                                                 200.00
 TEN



 FREDI A CARTER                                                                     1,272.00



 GAIL HARTIGAN                                                                      700.00



 GALEN L GLASS & CAROL A GLASS JT                                                   517.00
 TEN



 GARY N BALDWIN & LAURA JEAN                                                        500.00
 BALDWIN JT T



 GENEVA L CLABORN                                                                   12,000.00



 GEORGE J SEFZIK CUST ELIJAH D SEFZIK                                               6.00
 UTM



 GEORGE J SHARKEY & RUTH SHARKEY JT                                                 200.00
 TEN



 GEORGE J VIELKIND & BETTY J VIELKIND                                               100.00
 JT



 GEORGE TEIXEIRA                                                                    2,000.00



 GEORGETOWN OIL COMPANY                                                             770.00



 GERALD A COOK                                                                      6,000.00



 GERARD KASSAR                                                                      300.00




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                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 GLENN J WHEELER JR & MARGARET A                                                    8,752.00
 WHEELER



 GWENDOLYN C SIROCHMAN                                                              45,100.00



 H SUE CLEARWATER & GARY D                                                          30.00
 CLEARWATER JT



 HAGERTY & SULLIVAN INC                                                             11,200.00



 HANNAH E WIECH                                                                     2.00



 HARRY PAUL PECKMORE TR UA 05/16/2013                                               600.00
 HP



 HENRY OELKERS                                                                      200.00



 HENRY W BYERS                                                                      1,052.00



 HILARY A WIECH                                                                     2.00



 HOMER D BACHMAN & EVANGELINE P                                                     1,000.00
 BACHMAN J



 HOWARD HORN                                                                        161.00



 ILEANE SAFYER                                                                      250.00



 ILENE M GUTMAN                                                                     250.00



 ISABELL B HUDSON                                                                   300.00


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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities         Kind of Interest
 business of holder

 JACOB W BIXBY                                                                      20.00



 JAMES A SENTY & CATHERINE SENTY JT                                                 25.00
 TEN



 JAMES B WILLIAMS & SHERRI A WILLIAMS                                               100.00
 JT



 JAMES D HOTTEL & REBECCA A HOTTEL                                                  100.00
 JT TEN



 JAMES E. FERRELL                                                                   4,763,475.00



 JAMES EDWARD SCHULTE TR UA 05/14/12                                                1,800.00
 JAME



 JAMES GALLENTINE & CAROL                                                           100.00
 GALLENTINE JT T



 JAMES J HANSON                                                                     100.00



 JAMES L MATTHEWS & GALE D                                                          70.00
 MATTHEWS JT TE



 JAMES R DELLAVEDOVA & SHEILA M                                                     200.00
 DELLAVEDO



 JAMES SZCZEPANIAK                                                                  232.00



 JAMES T CYBULSKI & DELORES A                                                       230.00
 CYBULSKI JT




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 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 JANET HOPKINS                                                                      3,000.00



 JANET JAMES HARTMAN TR 08/13/04                                                    1,000.00
 JANET JA



 JANET M SCHMIDT TOD FRANK DAVID                                                    500.00
 SCHMIDT



 JAY WILMER REIFF                                                                   22.00



 JE NICOLOZAKES COMPANY                                                             1,000.00



 JEANETTE L NAYLOR TOD JANET S                                                      1,200.00
 STIEGLER S



 JEANNETTE SIEFERT TR JEANNETTE L                                                   640.00
 SIEFERT



 JEFF CAROTHERS                                                                     106.00



 JEFFERY J GRAHAM & REBECCA S                                                       13.00
 GRAHAM JT T



 JEFFREY PARGAMENT CUST SAMUEL                                                      50.00
 HOWARD PAR



 JEROLD HESSELINK & ROGER A                                                         460.00
 HESSELINK JT



 JERRY C MCKENZIE TOD TREVIS S                                                      83.00
 MCKENZIE




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 business of holder

 JERRY E RUTLEDGE                                                                   474.00



 JERRY M MORTON & CARRIE L MORTON JT                                                1,032.00
 TEN



 JESSICA B MARVEL & DANIEL J MORAN JT                                               69.00
 TEN



 JILL DUNLAP                                                                        100.00



 JIM RUSHING                                                                        62.00



 JO C HART                                                                          200.00



 JODI M SCHENKEL                                                                    100.00



 JOE HANKS                                                                          196.00



 JOHN C ARNDT                                                                       100.00



 JOHN C SMITH & CATHERINE L SMITH JT                                                100.00
 TEN



 JOHN D MARTIN JR & LENA M MARTIN JT                                                100.00
 TEN



 JOHN G MILLS & WILLIAM T MILLS JT TEN                                              100.00



 JOHN G MILLS CUST GRAYSON W MILLS                                                  245.00
 UTMA M




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 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 JOHN G MILLS CUST JOHN M MILLS UTMA                                                245.00
 MO



 JOHN GUINN RAMSAY                                                                  800.00



 JOHN J MARONEY & MARY P MARONEY JT                                                 3,000.00
 TEN



 JOHN MC MONAGLE CUST MELISSA J MC                                                  26.00
 MONAGL



 JOHN NICHOLOZAKES TR UA 11/29/07                                                   1,300.00
 JOHN NI



 JOHN P PLUTA                                                                       1,000.00



 JOHN S FICKER & RUTH A FICKER TR UA                                                408.00
 11/1



 JOHN W CRESS                                                                       1,000.00



 JOHN W FIELDS & LINDA L FIELDS JT TEN                                              12.00



 JONI MAREK                                                                         22.00



 JORDYN A DENDY                                                                     2.00



 JOSEPH CHARLES TRAVIS BLACKMAN                                                     100.00



 JOSEPH E CALDWELL TOD RAYMOND L                                                    5,000.00
 CALDWELL




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                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 JOSEPH F X MCQUAID & SHARYN E                                                      1,000.00
 MCQUAID JT



 JOYCE THERIOT & CHARLES THERIOT JT                                                 658.00
 TEN



 JULIE E MENDELSON                                                                  250.00



 KALYN MARIE KELLER WOOD CUST                                                       12.00
 CARTER LAWR



 KASIANI LITSIKAS                                                                   500.00



 KATE BANKS                                                                         32,700.00



 KATHERINE M O'BRIEN MILLER                                                         1,500.00



 KATHERYN MARIE BOWEN                                                               108.00



 KATHLEEN G PORTER                                                                  1,200.00



 KATHLEEN KOWAL                                                                     100.00



 KATHRYN M COOK                                                                     30.00



 KATHY SLADE CUST RICHARD BOG SLADE                                                 100.00
 UTMA



 KAY NICOLOZAKES TR UA 11/29/07 THE                                                 2,000.00
 KAY N




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                                                                         (Continuation Sheet)

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 business of holder

 KENNETH FLEER TR UA 06/18/96 KENNETH                                               600.00
 FLE



 KENNETH RUSSELL WEATHERS                                                           100.00



 KERRY FLEURY & DEBRA FLEURY JT TEN                                                 200.00



 KERRY FLEURY CUST ETHAN FLEURY                                                     50.00
 UGMA MI



 KEVIN FOULKE                                                                       50.00



 KEVIN S COFIELD                                                                    2,300.00



 KEVIN W EDMONDS & MONICA M                                                         12.00
 EDMONDS JT TE



 KSEM HOLDINGS LLC                                                                  2,329.00



 LARRY E HARRIS                                                                     1.00



 LARRY G DRUNERT & GLADYS J DRUNERT                                                 250.00
 JT TE



 LARRY W MEINE 2ND TOD ON FILE                                                      370.00
 SUBJECT TO



 LAURENCE E MOSER                                                                   50.00



 LAVERNE M FLEER TR UA 06/18/96                                                     600.00
 LAVERNE M




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 business of holder

 LAWRENCE G BOURNE                                                                  400.00



 LAWRENCE G BOURNE                                                                  400.00



 LAWRENCE G BOURNE                                                                  200.00



 LENA M SLIPSAGER & DANIEL K                                                        200.00
 BIEDERMAN JT



 LEONARD GREENBERG                                                                  100.00



 LEONARD M GLASS TR UA 11/26/2007 THE                                               415.00
 GLA



 LESTER RAYMOND SMITH SR TR UA                                                      100.00
 07/09/2013



 LETICIA NUNEZ                                                                      400.00



 LEWIS EDWARD WATFORD JR                                                            100.00



 LIAM E WARREN                                                                      6.00



 LILLIAN M EMINHIZER                                                                10.00



 LINDA B ROSE & JAMES C ROSE TEN COM                                                2.00



 LINDA F FOWLER PER REP DIANA F GALLI                                               500.00
 PER




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 business of holder

 LINDA L CLEVENGER & THOMAS R                                                       4,400.00
 CLEVENGER T



 LISA JESS SMITH                                                                    500.00



 LORI A HARING CUST MIRIAH B HARING                                                 90.00
 UTMA



 LORI A WILLIAMS                                                                    13.00



 LOUIS J GANCZARSKI                                                                 1,000.00



 M C BILL WALKER III                                                                50.00



 MADELEINE BELDEN                                                                   750.00



 MADELEINE BELDEN & MARK BELDEN JT                                                  100.00
 TEN



 MARC E GUTMAN                                                                      250.00



 MARILYN HART                                                                       612.00



 MARIO GIKA & ELISA GIKA JT TEN                                                     200.00



 MARJORIE AHRENHOLTZ                                                                700.00



 MARK DONAGHY & BARBARA DONAGHY                                                     347.00
 JT TEN



 MARK FUELLING                                                                      108.00


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 business of holder

 MARTHA MAYER & RONALD MAYER JT                                                     100.00
 TEN



 MARVIN SLOPER                                                                      100.00



 MARY ANNE ALLENDER                                                                 400.00



 MARY BETH GARRISON                                                                 200.00



 MARY ELLEN BELL TOD CHARLES W BELL                                                 50.00
 SUBJE



 MARY ELLEN BELL TOD LYNN BELL                                                      50.00
 CARROLL SU



 MARY FOSS & JOHN FOSS JT TEN                                                       200.00



 MARY JO JOSEPHSON                                                                  100.00



 MARY NIE CUST NICOLE NIE UTMA OH                                                   4.00



 MARYANNE ALLENDER                                                                  200.00



 MATTHEW D BIXBY                                                                    20.00



 MAURICE GEISLER & GABRIELLE GEISLER                                                100.00
 JT T



 MELANIE A WRIGHT TOD ZACHARY T                                                     775.00
 BENNETT S




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                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 MELINDA J CIHONE                                                                   46.00



 MICHAEL BRAUDE                                                                     1,000.00



 MICHAEL E GASKINS & KATHERINE M                                                    10.00
 GASKINS



 MICHAEL J COPPOLELLA                                                               200.00



 MICHAEL J MCDOWELL & LORRAINE F                                                    130.00
 MCDOWELL



 MICHAEL J SCHULTZ & DEBORAH A                                                      1.00
 SCHULTZ JT



 MICHAEL MURPHY 11304655                                                            1.00



 MICHAEL SAFRANEK                                                                   257.00



 MICHAEL W PORTWOOD                                                                 100.00



 MICHAELA C MYERS                                                                   70.00



 MICHELLE LAYTON CUST ALEXANDRIA M                                                  119.00
 LAYTON



 MICHELLE LAYTON CUST RICHARD K                                                     119.00
 LAYTON UT



 MICHELLE R LEWIS KING                                                              200.00




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                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 MILLICENT J MEADLEY                                                                300.00



 MORRIS LEVINE                                                                      4,000.00



 MORRIS LEVINE TR UA 01/18/02 MORRIS                                                2,000.00
 LEVI



 NANCY A TOELKE                                                                     155.00



 NEIL F MURPHY TR UA 05/11/1993 NEIL F                                              1,000.00
 MU



 NEIL W MASSER                                                                      5,500.00



 NINA KREPS                                                                         10.00



 NISHELLE M COX                                                                     100.00



 NORMA NIELSEN IMSDAHL                                                              100.00



 NORMAN GLASS & ADINA GLASS JT TEN                                                  28.00



 NORMAN GLASS CUST ASHER GLASS                                                      28.00
 UTMA KS



 ORAN A WATTS III                                                                   200.00



 OTTO C ALBRECHT                                                                    900.00



 PAM BENNETT                                                                        101.00



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                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities       Kind of Interest
 business of holder

 PAMELA A. BRUECKMANN                                                               41,914.00



 PASTY J HINSON & RONNY S SMITH JT TEN                                              30.00



 PATRICIA DEEM-ARRINGTON                                                            555.00



 PAUL A BRAUCH                                                                      450.00



 PAUL A SENSOR & M CAROL SENSOR JT                                                  227.00
 TEN



 PEGGY J HENSLEE TOD CARL R FORSHEY                                                 327.00
 JR SU



 PETER S ASWAD                                                                      300.00



 PETER VAN KEUREN                                                                   21.00



 PHILOMENA H EFFINGHAM                                                              500.00



 PHYLLIS L MICK TR UA 05/29/1996 DAVID L                                            122.00



 PRINCE REALTY & INVESTMENT CO                                                      160,550.00



 RAINER M MAKIRINNE TOD IRENE M SALO                                                2,000.00
 SUBJ



 RAINER M MAKIRINNE TOD JOHN WILLIAM                                                2,000.00
 MAKI




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                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 RAINER M MAKIRINNE TOD T MARIANNE                                                  2,000.00
 SETALA



 RALPH A CIHONE JR                                                                  45.00



 RALPH R KINGSLAND & FLORENCE                                                       100.00
 KINGSLAND T



 RALPH R KINGSLAND & FLORENCE                                                       100.00
 KINGSLAND T



 RAMONA A MEYER & DALE E MEYER TEN                                                  150.00
 COM



 RAMONA F FUENFHAUSEN & WILLIAM G                                                   200.00
 FUENHAU



 RAYMOND J KEMPE                                                                    2,000.00



 RAYMOND L MONK JR & RAYMOND L                                                      1,044.00
 MONK JT TE



 REBECCA FOULKE LEE                                                                 50.00



 RENEE E ECKENROTH                                                                  100.00



 RETA DIANNA ENDERS TR UA 06/08/09                                                  300.00
 RETA D



 RICHARD C BASQUIN                                                                  56.00



 RICHARD KATZ & BETTY KATZ JT TEN                                                   4.00



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                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 RICHARD RULON & JULIE J RULON JT TEN                                               100.00



 RICHARD SUNKO                                                                      700.00



 RICHARD WAGNER                                                                     361.00



 RIO GRANDE VALLEY GAS INC                                                          33,425.00



 ROBERT B MORGAN                                                                    100.00



 ROBERT BIERNAT                                                                     1,000.00



 ROBERT C COLE TR ERNEST C GRAY JR                                                  60.00
 CHARIT



 ROBERT C PURVIS                                                                    7,757.00



 ROBERT DIETZSCH                                                                    58.00



 ROBERT E MICHALSKI & ANNA L                                                        100.00
 MICHALSKI JT



 ROBERT HART                                                                        3,510.00



 ROBERT M PALM                                                                      1,700.00



 ROBERT R SLOPER TOD SUSAN B BADTKE                                                 200.00
 SUBJE



 ROBERTA KEATING TR                                                                 743.00



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                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 ROBYN NETH & HAROLD NETH JT TEN                                                    100.00



 ROGER C FINNEGAN & JULIE M FINNEGAN                                                100.00
 TEN



 ROGER L ANDERSON & JENNIFER K                                                      58.00
 ANDERSON J



 ROMULO E CARINO TOD ON FILE SUBJECT                                                99.00
 TO C



 RONALD R PEARSALL SR & PATRICIA A                                                  200.00
 PEARSA



 ROSEMARY MCELROY                                                                   300.00



 ROY DEWITT                                                                         100.00



 RUDOLPH J FORSTER TR FORSTER LIVING                                                11,168.00
 TRUS



 RUSS LERMAN                                                                        150.00



 RYAN M VERDERY & MELISSA E VERDERY                                                 11.00
 JT TE



 RYAN R MORGAN                                                                      100.00



 SAMUEL L TATE & BONNIE L TATE TR UA                                                3,212.00
 10/1




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 business of holder

 SANDRA COX-ESMAHAN & SABRI                                                         100.00
 ESMAHAN JT TE



 SANDRA G OESTRIKE TR UA 09/06/2019                                                 3,000.00
 OESTR



 SANDRA URDAL CUST BRIAN URDAL                                                      25.00
 UTMA IL



 SANDRA URDAL CUST GREGORY URDAL                                                    25.00
 UTMA IL



 SARA E TROWER & SARA S RHODES &                                                    794.00
 LAUREN R



 SARA E TROWER & SARA S RHODES &                                                    500.00
 LAUREN R



 SARAH C BIXLER                                                                     10.00



 SARAH SOUTHWELL                                                                    37700



 SHAHIDUL ISLAM                                                                     56.00



 SHARON A GROULX                                                                    1,265.00



 SHARON L BEATTY                                                                    18,425.00



 SHARYN E MCQUAID CUST RODERICK                                                     200.00
 MCQUAID U



 SHERRY J SOSNA & JAY M FULTON JT TEN                                               200.00



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 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 SHERYL S DOUGLAS                                                                   100.00



 SHIRLEY E VANN                                                                     400.00



 SHIRLEY PADDEN & JANET L COTE JT TEN                                               600.00



 SHIRLEY PESSES TR SHIRLEY PESSES                                                   100.00
 TRUST U



 SIDNEY DON RULON                                                                   90.00



 SONJA M PASS & JOSEPH J PASS JT TEN                                                200.00



 SOPHIE MIRIAM BLACKMAN TRAVIS                                                      100.00



 ST PAUL'S LUTHERAN CHURCH                                                          500.00



 STANLEY D HAYWARD                                                                  100.00



 STEVEN A MIGLIORE & ANDREA J                                                       134.00
 MIGLIORE JT



 STEVEN STEGER                                                                      8.00



 STEVEN W BURGESS                                                                   3.00



 SUSAN J LALLY TRUST 01032001 UA                                                    484.00
 SUSAN J



 SUSAN R COLLINS                                                                    200.00



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 business of holder

 THELMA M STEGER                                                                    655.00



 THEODOR EHRMAN & ELAINE EHRMAN JT                                                  307.00
 TEN



 THOMAS A MOORE                                                                     500.00



 THOMAS C WOODS IV                                                                  300.00



 THOMAS M DERNBACH & SHARON A                                                       1,000.00
 DERNBACH JT



 THOMAS M THEISS                                                                    100.00



 THOMAS M WAGNER & ALISON R WAGNER                                                  140.00
 JT TEN



 THOMAS M WESTFALL & MARGARET B                                                     623.00
 WESTFALL



 THOMAS W BOOHER & DENISE BOOHER JT                                                 90.00
 TEN



 TIM POWERS                                                                         48.00



 TIMOTHY H BOOHER & VICKI L BOOHER JT                                               102.00
 TEN



 TORI RAPKIN                                                                        473.00



 TRACEY MCCLEARY                                                                    20.00




List of equity security holders consists of 31 total page(s)
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 In re:    Ferrellgas Partners, L.P.                                                            Case No.
                                                                                   Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 TRACI STEWART                                                                      24.00



 TRAVIS FOX                                                                         2.00



 TY B FELTEN                                                                        2.00



 V CALVIN PURVIS                                                                    11,519.00



 VILMA T SMITH                                                                      200.00



 WALTER A BROWN                                                                     2,000.00



 WALTER FREES                                                                       300.00



 WALTER R BITTNER & LINDA D BITTNER JT                                              654.00
 TE



 WENDY FURBAY CUST KENNEDY LEE                                                      10.00
 FURBAY UND



 WESLEY L HERRIN                                                                    4,239.00



 WILLAIM PORTER JR & KATHLEEN G                                                     400.00
 PORTER JT



 WILLIAM BLACKMORE                                                                  1,500.00



 WILLIAM C RUONA                                                                    127.00



 WILLIAM D SCOTT & MARIE J SCOTT JT                                                 1,044.00
 TEN


List of equity security holders consists of 31 total page(s)
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 In re:    Ferrellgas Partners, L.P.                                                                     Case No.
                                                                                     Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities                        Kind of Interest
 business of holder

 WILLIAM G BOHN                                                                       800.00



 WILLIAM IRELAND III                                                                  250.00



 WILLIAM J RYAN & BEVERLY ANN RYAN JT                                                 100.00
 TEN



 WILLIAM JAMES LEANOS                                                                 85.00



 WILLIAM M WHITE JR                                                                   775.00



 WILLIAM PORTER JR & KATHLEEN G                                                       800.00
 PORTER JT



 WILLIAM R HENDRICKSON                                                                200.00



 WILLIAM R HENDRICKSON                                                                100.00



 Y N DANG & MINHHANH T NGUYEN JT TEN                                                  1,923.00



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Chief Executive Officer and President of the partnership named as the debtor in this case, declare under
penalty of perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best
of my information and belief.



                      01/10/2021
 Date                                                                        Signature            /s/ James E. Ferrell
                                                                                            James E. Ferrell

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




List of equity security holders consists of 31 total page(s)
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                           WRITTEN CONSENT BY THE SOLE GENERAL
                           PARTNER OF FERRELLGAS PARTNERS, L.P.

       The undersigned, being the sole general partner (“GP”) of FERRELLGAS PARTNERS,
L.P., a Delaware limited partnership (“MLP”), in its capacity as GP does hereby adopt the
following resolutions effective as of January __, 2021:

         WHEREAS, due to unexpected financial challenges in recent years, MLP has been
         unable to service its debt obligations due, among other things, to restrictions on the
         ability of MLP’s principal subsidiary, Ferrellgas L.P. (“OLP”), to transfer funds
         obtained from its operations to MLP; and

         WHEREAS, MLP has accordingly encountered liquidity challenges that left it
         unable to repay the principal and interest under the 2020 Notes issued by MLP
         (“2020 Notes”) on the June 15, 2020 maturity date; and

         WHEREAS, after an extended period of negotiations with a group holding or
         controlling approximately 75% of the aggregate outstanding principal amount of
         the 2020 Notes, a prepackaged set of restructuring agreements has been agreed; and

         WHEREAS, after consultation with, and in reliance upon the opinions and views
         of, experienced restructuring legal counsel, investment bankers experienced in
         restructuring transactions, accountants, tax advisers and other professionals as to
         matters within the scope of their respective expertise or professional competence,
         GP has determined that it is in, or not inconsistent with, the best interests of MLP
         for MLP and its wholly owned subsidiary, Ferrellgas Partners Finance Corp.
         (“FPFC”), to enter into and to perform its or their obligations with respect to the
         transactions outlined and set forth in Prepackaged Joint Chapter 11 Plan of
         Reorganization for Ferrellgas Partners L.P. and Ferrellgas Partners Finance Corp.,
         substantially in the form presented to the GP (the “Plan”) and to solicit votes to
         accept or reject the Plan as required by applicable law (the “Solicitation”);

         NOW, THEREFORE, BE IT

        RESOLVED, that MLP be, and hereby is, authorized to file a voluntary petition for relief
under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”) in the United
States Bankruptcy Court for the District of Delaware (the “Court”); and, BE IT

        RESOLVED FURTHER, that GP and each officer of GP, and MLP (each, an “Authorized
Party”) is hereby delegated authority and directed to take, in each case with the advice of, and in
reliance upon the opinions and views of, counsel and the other advisors to MLP and GP, (a) any
and all actions necessary or appropriate to prepare for and cause such filings to occur, including,
without limitation, by causing the preparation, execution, verification, and/or filing of all petitions,
schedules, statements, lists, “first day” motions and applications, and other necessary or
appropriate pleadings or papers, and (b) any and all other necessary or appropriate actions in
furtherance of commencing a bankruptcy case (the “Bankruptcy Cases”), obtaining necessary or




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appropriate relief from the Court, and/or otherwise transitioning into operating under chapter 11
and any other relevant provisions the Bankruptcy Code; and, BE IT

       RESOLVED FURTHER, that MLP hereby expressly approves the transactions (and each
of them) contemplated by the Plan and by the Solicitation; and, BE IT

        RESOLVED FURTHER, that, for the avoidance of doubt, GP hereby ratifies the
execution and delivery by MLP of the Transaction Support Agreement dated as of December 10,
2020 (“TSA”), which document is attached as an exhibit to the Solicitation, and authorizes MLP
fully to perform its obligations under, or contemplated by, the TSA and the Plan; and, BE IT

        RESOLVED FURTHER, that MLP and each Authorized Party be, and each of them
hereby is, authorized and directed to take (or to cause to be taken) any and all actions that such
entity or persons may deem necessary or appropriate to give full force and effect to the purposes
of the TSA and the Plan; and, BE IT

                                   Retention of Professionals

        RESOLVED FURTHER, that, subject to the Court’s approval, the law firm of Squire
Patton Boggs (US) LLP (“SPB”) is hereby retained on the terms set forth in SPB’s Engagement
Letter, dated December 16, 2020 (as may be amended or modified from time to time) to serve as
MLP’s and FPFC’s primary bankruptcy and restructuring counsel in connection with the
Bankruptcy Cases and to advise and assist MLP and FPFC with respect to all aspects of the
Bankruptcy Cases, including, without limitation, (a) preparing and filing all necessary or
appropriate documents to commence the Bankruptcy Case, (b) obtaining necessary or appropriate
relief from the Court, (c) operating under Chapter 11 and other relevant provisions of the
Bankruptcy Code, and (d) otherwise performing its duties as a debtor and debtor-in-possession;

        RESOLVED, that MLP is hereby authorized and directed to continue to periodically
replenish, as required and as approved by the Court, the retainer in the amount of $100,000
previously paid to SPB on account of the services rendered or to be rendered by it;

        RESOLVED, that Chipman, Brown, Cicero & Cole, LLP (“Chipman”) is hereby retained
on the terms set forth in its Engagement Letter, dated December 3, 2020, (and as may be amended,
restated or modified from time to time) to serve as the MLP’s and FPFC’s Delaware bankruptcy
and restructuring counsel;

        RESOLVED, that MLP is hereby authorized and directed to continue to periodically
replenish, as required and as approved by the Court, the retainer in the amount of $100,000
previously paid to Chipman on account of the services rendered or to be rendered by it;

        RESOLVED, that, subject to the Court’s approval, Moelis & Company LLC (“Moelis”)
is hereby retained on the terms set forth in its Engagement Letter, effective as of December 10,
2020 (as may be amended or modified from time to time) to serve as the MLP’s investment banker
in the Bankruptcy Case;

       RESOLVED FURTHER, that, subject to the Court’s approval, Ryniker Consultants
(“Ryniker”) is hereby retained on the terms set forth in Ryniker’s Engagement Letter, dated



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December 4, 2020 (as may be amended or modified from time to time) to serve as MLP’s and
FPFC’s primary bankruptcy and restructuring financial advisor in connection with the Bankruptcy
Cases and to advise and assist MLP and FPFC with respect to all aspects of the Bankruptcy Cases;

        RESOLVED, that MLP is hereby authorized and directed to continue to periodically
replenish, as required and as approved by the Court, the retainer in the amount of $50,000
previously paid to Ryniker on account of the services rendered or to be rendered by it;

       RESOLVED FURTHER, that, subject to the Court’s approval, Prime Clerk LLC (“Prime
Clerk”) is hereby retained on the terms set forth in Prime Clerk’s Engagement Agreement, dated
December 8, 2020 (as may be amended or modified from time to time) to serve as MLP’s and
FPFC’s claims, noticing and solicitation agent in connection with the Bankruptcy Cases;

        RESOLVED, that MLP is hereby authorized and directed to continue to periodically
replenish, as required and as approved by the Court, the retainer in the amount of $50,000
previously paid to Prime Clerk on account of the services rendered or to be rendered by it;

                              Other Bankruptcy Authorizations

        RESOLVED, that MLP and each Authorized Party is authorized and empowered to
(a) take or cause to be taken any and all further action(s), (b) engage other professionals,
(c) execute and deliver further documents and instruments, and (d) pay fees and expenses, all as
such parties deem necessary or appropriate in order to fully carry out the intent and accomplish
the purposes of these resolutions;

        RESOLVED, that any and all actions previously taken by (or under the direction of) the
officers and/or directors of GP and MLP in the name or otherwise on behalf of MLP with respect
to the commencement of the Bankruptcy Case or otherwise in furtherance of any or all of these
resolutions are hereby ratified, confirmed, and approved; and

       RESOLVED, that these resolutions may be executed by facsimile, telecopy or other
reproduction method, and such execution shall be considered valid, binding, and effective for all
purposes.




                               [Signatures on the following page]




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                  x
In re:                                                           :        Chapter 11
                                                                 :
FERRELLGAS PARTNERS, L.P., AND                                   :        Case No.: 21-                (_             )
FERRELLGAS PARTNERS FINANCE CORP.,1                              :        (Joint Administration Requested)
                                                                 :
                                     Debtors.                    :

                                                                 x

                 ATTACHMENT TO VOLUNTARY PETITION FOR
         NON-INDIVIDUALS FILING FOR BANRKUPTCY UNDER CHAPTER 11


         1.       If any of the debtor’s securities are registered under Section 12 of the Securities

Exchange Act of 1934, the SEC file number is2: 001-11331.

         2.       The following financial date is the latest available information and refers to the

debtor’s condition on December 18, 2020.

              a. Total assets:       $100,000-500,000 million

              b. Total debts3: $100,000-500,000 million

              c. Debt securities held by more than 500 holders: N/A

              d. Number of shares of preferred stock: 0

              e. Number of shares of common stock: 97, 152, 665

         3.       Description of debtor’s business:

        Ferrellgas Partners, L.P. (“HoldCo”) is a publicly traded Delaware limited partnership
formed in 1994 that has two direct subsidiaries, Debtor Partners Finance and non-debtor Ferrellgas,
L.P. (“OpCo”). HoldCo owns 100% of Partners Finance and owns 99% of the limited partnership
interests in OpCo. HoldCo has no operations, no employees and, other than its equity interests in

1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Ferrellgas Partners, L.P. (8480), and Ferrellgas Partners Finance Corp. (2520). The corporate headquarters and the
mailing address for the Debtors is 7500 College Boulevard, Suite 1000, Overland Park, KS 66210.
2
  Ferrellgas Partners, L.P. submits its securities are not registered under section 12 of the Securities and Exchange Act
but provides the filing number for convenience.
3
  Includes debts listed in 2.c.
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Partners Finance and OpCo, does not have any material assets. FGI, a Delaware corporation and
a wholly-owned subsidiary of non-debtor Ferrell Companies, Inc. (“FCI”), a Kansas corporation,
is the sole general partner of HoldCo and one of three general partners of OpCo. FGI has retained
an approximate 1% general partner economic interest in HoldCo and also holds an approximate
1% general partner economic interest in OpCo.
         Debtor, primarily through non-debtor OpCo, is a leading distributor of propane and related
equipment and supplies to customers in the United States. Ferrellgas is the second largest retail
marketer of propane in the United States as measured by the volume of retail sales in fiscal year
2020 and a leading national provider of propane by portable tank exchange. Ferrellgas serves
residential, industrial/commercial, portable tank exchange, agricultural, wholesale and other
customers in all 50 states, the District of Columbia and Puerto Rico.

           4.     Names of any persons who direct or indirectly owns, controls, or holds, with the

power to vote 5% or more of the voting securities of debtor: Ferrell Companies, Inc., James E.

Ferrell.




                                                -2-

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 Fill in this information to identify the case:

 Debtor name            Ferrellgas Partners, L.P.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         21-
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                              12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
         X        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
         X        Other document that requires a declaration      List of Equity Security Holders
       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          January 11, 2021                        X    /s/ James E. Ferrell
                                                                         Signature of individual signing on behalf of debtor
                                                                         James E. Ferrell
                                                                         Printed name
                                                                           Chief Executive Officer and President
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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